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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   ---------------------------------------------------------------x
   GILEAD SCIENCES, INC., et al.,                                 :
                                                                  :
                                         Plaintiffs,              :   Case No. 21-cv-4106-AMD-RER
                                                                  :
   v.                                                             :
                                                                  :
   SAFE CHAIN SOLUTIONS, LLC, et al.,                             :
                                                                  :
                                         Defendants.              :
   -------------------------------------------------------------- x

                     CONSENT JUDGMENT AND PERMANENT INJUNCTION
                      AS TO GOPESH PATEL AND VLS PHARMACY, INC.

           On consent Plaintiffs Gilead Sciences, Inc., Gilead Sciences Ireland UC, and Gilead

   Sciences, LLC (together, “Gilead”) and Defendants Gopesh Patel and VLS Pharmacy, Inc.

   (collectively, the “VLS Defendants”), and pursuant to Fed. R. Civ. P. 54(b), it is hereby

   ORDERED, ADJUDGED, and DECREED:

           1.       The VLS Defendants, and their employees, officers, directors, predecessors,

   successors, agents, and assigns, or any other person in active concert and participation with them,

   are enjoined from importing, purchasing, selling, distributing, marketing, or otherwise using in

   commerce or commercially dealing in the United States any Gilead Products (as defined below),

   or assisting, aiding or abetting any other person or business entity in engaging in or performing

   any of the activities referred to in this paragraph, unless the VLS Defendants legally obtain said

   Gilead Products directly from one or more of Gilead’s Authorized United States Distributors as

   currently identified on Gilead’s website (at https://www.gilead.com/purpose/medication-

   access/authorized-distributors) or as so-identified by Gilead in the future, upon the VLS

   Defendants’ request.



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           2.     The “Gilead Products” are defined as all products manufactured by or sold by

   Gilead or its subsidiaries in the United States, including but not limited to all products bearing

   anywhere any of the Gilead Marks, whether on the product itself or any of its packaging.

           3.     The “Gilead Marks” include the following:

    Trademark                         Registration Number             Registration Date
    GILEAD                            3251595                         June 12, 2007
                                      2656314                         December 3, 2002

    GSI                               3890252                         December 14, 2010
    BIKTARVY                          5344455                         November 28, 2017
    DESCOVY                           4876632                         December 29, 2015
    DESCOVY FOR PREP                  5912591                         November 19, 2019
    9883                              5467392                         May 15, 2018
                                      5636131                         December 25, 2018

                                      5906177                         November 12, 2019
                                      5030567                         August 30, 2016
                                      5154303                         March 7, 2017
    TRUVADA                           2915213                         December 28, 2004
    GENVOYA                           4797730                         August 25, 2015
    ATRIPLA                           3276743                         August 7, 2007
    RANEXA                            3094007                         May 16, 2006
    VOSEVI                            5259592                         August 8, 2017
    STRIBILD                          4263613                         December 25, 2012
                                      6031751                         April 14, 2020
    SOVALDI                           4468665                         January 21, 2014
                                      5018106                         August 9, 2016
    7977                              4585257                         August 12, 2014

           4.     Nothing in this Consent Judgment and Permanent Injunction is or shall be construed

   as an admission, express or implied, by any party, including an admission of any liability,

   wrongdoing, or violation of law.

           5.     In addition to other remedies, including damages, for contempt of this Permanent

   Injunction, in the event of breach or violation of the terms of this Permanent Injunction by the VLS

   Defendants, or their employees, officers, directors, owners, predecessors, successors, agents, and

   assigns, or any other person in active concert and participation with them, Gilead is entitled to a



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   preliminary and permanent injunction against the breaching conduct solely upon a showing of

   likelihood of success of establishing that such a breach occurred.

          6.      If a court of competent jurisdiction finds that any of the VLS Defendants have

   violated the prohibitions of this Consent Judgment and Permanent Injunction, Gilead is entitled at

   its election to either liquidated damages of one hundred times (100x) the U.S. Wholesale

   Acquisition Cost (“WAC”) price of the authentic product that any of the VLS Defendants sold

   (individually, or on its behalf by its principals, agents, attorneys, members, servants, employees,

   directors, officers, parents, successors, heirs, assigns, executors, representatives, and subsidiaries,

   or any other persons in active concert or participation with them in violating this Consent Judgment

   and Permanent Injunction) that violate this Consent Judgment and Permanent Injunction; or to

   Gilead’s actual, statutory, and punitive damages as may be permitted by law. In any action,

   regardless of which measure of damages Gilead selects, Gilead shall be entitled to recover its

   reasonable attorneys’ fees and investigatory fees incurred for finding and demonstrating that any

   VLS Defendant has violated this Consent Judgment and Permanent Injunction. Any liability

   would be joint and several amongst the VLS Defendants and their principals, predecessors,

   successors, and assigns.

          7.      Any and all claims and/or cross-claims, permissive or mandatory, that the VLS

   Defendants have asserted, may assert, or could assert in this Action against any other defendant

   are hereby assigned and transferred to Gilead.

          8.      This Consent Judgment is entered pursuant to Fed. R. Civ. P. 58, and this action is

   hereby dismissed with prejudice against the VLS Defendants only, without costs or attorneys’ fees,

   save that this District Court shall retain jurisdiction over this action, including over implementation




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